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VIA ECF                                                                                         January 23, 2019

The Honorable Cathy L. Waldor, U.S.M.J.
United States District Court
M.L. King, Jr. Federal Bldg. & Courthouse, Room 4040
50 Walnut Street
Newark, New Jersey 07102

       Re:        Indivior Inc., et al. v. Alvogen Pine Brook LLC
                  Civil Action Nos. 17-7106, 18-5285 (KM)(CLW)                                            (Consolidated)

Dear Judge Waldor:

        This firm, together with Covington & Burling LLP and Steptoe and Johnson LLP,
represents plaintiffs Indivior Inc., Indivior UK Limited, and Aquestive Therapeutics, Inc.
(collectively, “Plaintiffs”) in the above-captioned matter.

         We write to respectfully request an extension of the deadline to file redacted versions of
the papers filed in connection with Plaintiffs’ Motion for a Preliminary Injunction and related
filings (D.I. 83—87). Pursuant to L. Civ. R. 5.3(c)(4), redacted versions of those papers are due
today. Under L. Civ. R. 5.3(c)(2)(ii), a joint motion to seal all papers related to Plaintiffs’
motion is due 14 days following the completed briefing related to the motion. Due to the length
and volume of the papers that will be subject to the motion to seal, which already includes
hundreds of pages, we believe that it would be most efficient to extend the time for filing
redacted versions of the papers related to Plaintiffs’ motion (including any opposition and reply
papers) until the parties file the joint consolidated motion to seal. Accordingly, we propose
publicly filing redacted versions on the same day that the joint motion to seal is due. We have
conferred with Defendant, and they consent to this request. If this meets with Your Honor’s
approval, we respectfully request that Your Honor sign and enter the below form of
endorsement.




             One Riverfront Plaza, Suite 1520      N e w a rk , N J 0 7 1 0 2 -5 4 2 6      Phone: (973) 286-6700      Fa x : ( 9 7 3 ) 2 8 6 - 6 8 0 0

     DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS NEW JERSEY NEW YORK PENNSYLVANIA WASHINGTON, DC
                                                       A DELAWARE LIMITED LIABILITY PARTNERSHIP
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      Thank you for Your Honor’s kind attention to this matter.

                                                  Respectfully yours,



                                                  William C. Baton

cc:   All Counsel (via e-mail)

SO ORDERED:


___________________________
Hon. Cathy L. Waldor, U.S.M.J.
